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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                             )
                                                      )
                               Plaintiff,             )       4:05CR3034
                                                      )
       v.                                             )       ORDER
                                                      )
ALEJANDRO ROQUE RAMIREZ,                              )
 a/k/a ESAUL MIRANDA,                                 )
                                                      )
                               Defendant,             )


       IT IS ORDERED:

       Plaintiff’s unopposed motion to continue trial, (filing 24), is granted and

        1. Trial of this matter is continued to 9:00 a.m., August 22, 2005, for a duration of four
trial days before the Honorable Richard G. Kopf in Courtroom 1, United States Courthouse and
Federal Building, 100 Centennial Mall North, Lincoln, Nebraska. Jury selection will be held at
the commencement of trial.

        2. The ends of justice will be served by granting such a motion, and outweigh the
interests of the public and the defendant in a speedy trial, and the additional time arising as a
result of the granting of the motion, the time between July 7, 2005 and August 22, 2005 shall be
deemed excludable time in any computation of the time under the requirements of the Speedy
Trial Act, for the reason that the parties require additional time to adequately prepare the case,
taking into consideration due diligence of counsel, the novelty and complexity of the case, and
the fact that the failure to grant additional time might result in a miscarriage of justice. 18 U.S.C.
Section 3161(h)(3)(A)&(h)(8)(A)(i).

       DATED this 8thday of July , 2005.

                                               BY THE COURT


                                               s/David L. Piester
                                               David L. Piester
                                               United States Magistrate Judge
